10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 3:17-cv-05052-VC Documentl Filed 08/30/17

GREGORY C. CHENG, State Bar No. 226865
gregorycheng@ogletreedeakins.com

OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
Steuart Tower, Suite 1300

One Market Plaza

San Francisco, CA 94105

Telephone: 415.442.4810

Facsimile: 415.442.4870

Attorneys for Defendants
COMPASS AIRLINES, LLC and
TRANS STATES HOLDINGS, INC.

Page 1 of 8

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

NICK MILETAK, Case NO.
Plaintiff,

V.

DEFENDANTS COMPASS AIRLINES, LLC
AND TRANS STATES HOLDINGS, INC.’S
NOTICE OF REMOVAL OF CIVIL
ACTION UNDER 28 U.S.C. SECTIONS 1331,

COMPASS AIRLINES, LLC, AND TRANS 1332, 1367’ AND 1441

STATES HOLDINGS, INC.

[FEDERAL QUESTION & DIVERSITY

Defendants. JURISDICTION]

Trial Date:

 

 

Complaint Filed:

August 1, 2017
None Set

Case NO.

 

 

 

DEFENDANT COMPASS AIRLINES, LLC’S NOTICE OF REMOVAL

 

\OOO\]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 3:17-cv-05052-VC Document 1 Filed 08/30/17 Page 2 of 8

TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF CALIFORNIA, AND TO PLAINTIFF, PRO SE:

PLEASE TAKE NOTICE that Defendants Compass Airlines, LLC (“Compass”) and
Trans States Holdings, lnc.1 (“TSH”) (collectively, “Defendants”), through their undersigned
counsel, hereby remove the above-captioned action from the Superior Court of the State of
California for the County of Santa Clara to the United States District Court for the Northern
District of Califomia pursuant to 28 U.S.C. §§ 1331, 1332, 1367, 1441, and 1446 on the grounds
that (a) there is complete diversity of citizenship between PlaintiffNick l\/[iletak (“Plaintiff’), a
citizen of the State of California, and Compass and TSH, Which are not citizens of the State of
California; (b) the amount in controversy exceeds $'75,000.00; and (c) the foregoing facts Were
true When Plaintiff filed the Complaint, and remain true novv.

THE STATE COURT ACTION

1. On or about August 1, 2017, Plaintiff filed an unverified Complaint for Damages
(the “Complaint”) against Defendants entitled Nick Milel‘ak v. Compass Airlz'nes, LLC, and Trcms
States Holdz'ngs, Inc., in Santa Clara County Superior Court, Case Number 17CV313798 (the
“State Court Action”). The Complaint in the State Court Action asserts the following causes of
action1 (l) Wrongful Termination of Employment in Violation of Public Policy; (2) Violation of
Public Policy California Civil Code § 1786.16; (3) Violation of Public Policy California Civil
Code § 1786.40; (4) Violation of Public Policy California Civil Code § 1786.53; (5) 15 U.S.C. §
1681m(a); and (6) Negligent Infliction of Emotional Distress.

2. On or about August 2, 2017, Compass Was served With a copy of the Surnmons
and Complaint in this action. On or about August 25, 2017, TSH Was served With a copy of the
Sumrnons and Complaint in this action. True and correct copies of the Summons and Complaint,
as Well as of all process, pleadings, and orders served upon Defendants in the State Court Action,
are attached as Exhibit A to this Notice of Removal. (Id., 1[1[ 4-5.)

REMOVAL IS TIMELY

3. A defendant in a civil action has 30 days from the date it is validly served With a

 

1 ln joining this removal, TSH does not Waive any right to object to lack of personal jurisdiction

l Case No.
DEFENDANTS’ NOTICE OF REMOVAL

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 3:17-cv-05052-VC Document 1 Filed 08/30/17 Page 3 of 8

summons and complaint to remove the action to federal court. See 28 U.S.C. § 1446(b)(l) (“The
notice of removal of a civil action or proceeding shall be filed Within thirty days after receipt by
the defendant, through service or otherwise, of a copy of the initial pleading setting forth the
claim for relief upon Which such action or proceeding is based, or Within 30 days after the
service of summons upon the defendant if such initial pleading has then been filed in court and is
not required to be served on the defendant, Whichever period is shorter.”).

4. As Set forth in Paragraphs 1 through 2, above, service of the Sumrnons and
Complaint on Compass Was effective on August 2, 2017. Because Defendants have filed this
removal Within 30 days of service of the Summons and Complaint on Compass, removal is
timely.

REMOVAL IS PROPER BASED ON FEDERAL OUESTION JURISDICTION

5. This action is removable pursuant to 28 U.S.C. §1441 Which permits any civil
action brought in any state court in Which the district courts of the United States have original
jurisdiction to be removed to the district court of the United States for the district and division
embracing the place Where the state court action is pending.

6. The Court has original jurisdiction over the state court action under 28 U.S.C.

§ 1331 because Plaintiff’ s Fifth Cause of Action arises under federal lavv. Specifically, Plaintiff
alleges violations of the Fair Credit Reporting Act, 15 U.S.C. §§ 1681m(a), et seq. (Complaint,
1111 5 9~64.)

7 . Pursuant to 28 U.S.C. § 1367, this Court Would have supplemental jurisdiction
over any state law claims Which Plaintiff alleged or may allege against Defendants. Any state
law claims Would be derived from the same common nucleus of operative facts as Plaintiff’s
claims under federal laW. See United Mz'ne Workers ofAmerica v. Gz'bbs, 383 U.S. 715, 725
(1966). Accordingly, this Court Would have supplemental jurisdiction over any state law claims
pursuant to 28 U.S.C. § 1441(0).

REMOVAL IS PROPER BASED ON DIVERSITY OF CITIZENSHIP

8. The State Court Action is a civil action over Which this Court has original

jurisdiction under the provisions of United States Code, Title 28, Section 1332, and is one that

2 Case No.
DEFENDANTS’ NOTICE OF REMOVAL

 

 

10
11
12

14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 3:17-cv-05052-VC Document 1 Filed 08/30/17 Page 4 of 8

may be removed to this Court pursuant to United States Code, Title 28, Section 1441. This is a
civil action where the amount in controversy exceeds the sum of $75,000, exclusive of interests
and costs, and is between citizens of different states.

9. Defendants are informed and believe, and Plaintiff alleges in his Complaint, that
Plaintiff is a citizen of the State of California and domiciled in California. (Complaint, 11 13.)

10. Compass was at the time of filing of this action, and still is, a limited liability
company organized under the laws of Delaware. (Complaint, 11 14.) Further, Compass’ principal
place of business is and has been in Minneapolis, Minnesota, as that is the location of its
headquarters from which its officers direct, coordinate, and control its business operations
(Complaint, 11 14.)

ll. The Ninth Circuit treats limited liability companies like partnerships for purposes
of diversity jurisdiction See Johnson v. Columbz`a Props. Anchorage, LP, 437 F.3d 894, 899
(9th Cir. 2006) (applying the standard used by sister circuits and treating LLCs like
partnerships). Thus, “an LLC is a citizen of every state of which its owners/members are
citizens.” Id.; see also Hana’elsman v. Bedford Vz'llage Assocs., Lta'. Parz‘nership, 213 F.3d 48,
51-52 (2d Cir. 2000) (recognizing that a limited liability company has the citizenship of its
members).

12. TSH, which is also Compass’ sole member, is a corporation formed under the
laws of the State of Delaware with its principal place of business in Bridgeton, Missouri.
(Complaint, 11 15.) Pursuant to 28 U.S.C. § 1332(c), “a corporation shall be deemed to be a
citizen of any State by which it has been incorporated and of the State where it has its principal
place of business.”

13. Accordingly, for purposes of determining diversity, Defendants are citizens of
Delaware, Minnesota, and l\/lissouri, and are not citizens of California.

14. Therefore, complete diversity among the parties exists now, and did so the time of
the filing of this action.

15. From the allegations of the Complaint,2 it is evident that, at present, and at the

 

2 Defendants discuss below the allegations in Plaintiff’s Complaint that are the subject of this
3 Case No.

DEFENDANTS’ NOTICE OF REMOVAL

 

 

\OOO\]O'\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 3:17-cv-05052-VC Document 1 Filed 08/30/17 Page 5 of 8

time of filing, the amount in controversy exceeded and still exceeds 875,000, this Court’s
jurisdictional minimum. See Sanchez v, Monumental Life Ins. Co., 102 F.3d 398, 400~04 (9th
Cir. 1996); Lucett v. DeltaAirlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999). ln determining
whether the jurisdictional minimum is met, the Court considers all recoverable damages,
including emotional distress damages, punitive damages, statutory penalties, and attomeys’ fees.
See Hunt v. Washz`ngl‘on State Apple Adverz‘isz'ng Comm ’n, 432 U.S. 333, 347-48 (1977); Galt
G/S v. JSS Scana"z`navz`a, 142 F.3d 1150, 1155-56 (9th Cir. 1998); Anl‘hony v. Securz`ly Pac. Fz'n ’l
Servs., Inc. , 75 F.3d 311, 315 (7th Cir. 1996). Where, as here, the complaint does not specify a
particular amount of damages, the removing defendant need only establish by a preponderance of
evidence that the amount in controversy exceeds 875,000. See Sanchez, 102 F.3d at 403-04.
The removing defendant meets this burden if it establishes that it is “rnore likely than not” that
the amount in controversy exceeds $75,000. Id.

16 . ln the Complaint, Plaintiff seeks, among other things, actual damages, statutory
damages, costs of suit and attorneys’ fees, punitive damages, and all other relief that the Court
deems just and proper. (Complaint, 1111 42, 48, 52, 5 8, 64, 75.) Based on the allegations in the
Complaint, Defendants estimate that the amount of alleged compensatory damages sought by _
Plaintiff in this action (including for lost wages, punitive damages, and attorneys’ fees) is well in
excess of $75,000.00. Specifically, Defendants calculate the amount in controversy as follows:

17. Lost Wages and Statutorv Damages. Plaintiff alleges lost wages in the amount of
$2,800 per month for his wrongful termination and negligent infliction of emotional distress
claims. (Complaint, 1111 41, 75.) The median time for a case to proceed to trial in the United
States District Court for the Northern District of California is currently approximately 26.1
months.3 As such, by the time of trial, Plaintiffs claim for past lost wages alone therefore equals
at least 872,800. ln addition to lost wages, Plaintiff alleges statutory damages of up to $1,000 for

his Fifth Cause of Action, and unidentified statutory damages in Counts ll~lV. (Complaint, 11

 

matter solely to demonstrate that the amount in controversy in this matter exceeds $75,000. ln
doing so, Defendants do not admit that Plaintiff is entitled to these damages or that Plaintiff will
e able to recover on any of his theories.
See http://www.uscourts.gov/report~name/federal-court~management-statistics (last visited
August 25, 2017).

4 Case No.
DEFENDANTS’ NOTICE OF REMOVAL

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 3:17-cv-05052-VC Document 1 Filed 08/30/17 Page 6 of 8

64.)

18. Emotional Distress and Punitive Darnages. Plaintiff alleges that he has suffered

 

emotional distress (Complaint, 11 73), and hence the damages for this distress, although not
specified in the Complaint, are also properly considered in calculating the amount in
controversy. See Sz`mmons v, PCR Tech., 209 F. Supp. 2d 1029, 1034 (N.D. Cal. 2002)
(“[E]motional distress damages may be considered when calculating the amount in controversy
even where not clearly pled in the complaint.”). Similarly, Plaintiff has requested (Complaint, 1111
42, 48, 52, 5 8, 64, 75), and could obtain an award of, punitive damages, which are therefore also
included in calculating the amount placed in controversy See Gibson v. Chrysler Corp., 261
F.3d 927, 945 (9th Cir. 2001) (“lt is well established that punitive damages are part of the
amount in controversy in a civil action.”); Romo v. FFG Ins. Co., 397 F. Supp. 2d 1237, 1240
(C.D. Cal. 2005) (Where authorized, punitive damages are considered as part of the amount in
controversy in meeting the prerequisite for diversity jurisdiction). Reference to prior
employment cases - even if the cases are not perfectly analogous - is appropriate in determining
the value of claims for emotional distress and punitive darnages. See Simmons, 209 F. Supp. 2d
at 1033-34 (“To establish probable punitive damages, defendant may introduce evidence of jury
verdicts in cases involving analogous facts.”). ln employment cases, emotional distress and
punitive damage awards alone are often in excess of the jurisdictional minimum. See
Chopourian v. Catholz'c Healthcare W., No. 09CV02972 (KIl\/l), 2012 WL 767196 (E.D. Cal.
Feb. 29, 2012) (jury awarded $5,000,000 for non-economic damages for retaliation and
$8,000,000 for non-economic damages for wrongful termination, plus $6,250,000 for punitive
damages for retaliation and $31,250,000 for punitive damages for wrongful termination); Lana'z`s
v. Pz`nkertons, Inc., 122 Cal. App. 4th 985, 988 (2004) ($275,000 emotional distress damages
awarded in wrongiiil termination case); Ward v. Caa'bury Schweppes Bottl ing Group, No.
2:09cv03279, 2011 WL 7447633 (C.D. Cal. Dec. 7, 2011) (awarding each of six plaintiffs,
alleging discrimination and wrongful termination claims, punitive damages ranging between
$1,214,000 and $2,043,000 where the plaintiffs’ awards for past lost wages ranged between
$44,000 and $144,000); Rodrz`guez v. Valley Vista Servs., Inc., No. BC473793, 2013 WL

5 Case No.
DEFENDANTS’ NOTICE OF REMOVAL

 

 

\OOO\]O`\

10
11
12
13
14
15
16
17
18
19
20
21
22
~23
24
25
26
27
28

 

 

Case 3:17-cv-05052-VC Document 1 Filed 08/30/17 Page 7 of 8

2102714 (Cal. Superior Ct. Feb. 15, 2013) (awarding disability discrimination and wrongful
termination plaintiff $7,570,261 from one defendant and $9,000,000 from another defendant
where her past economic loss award was only $66,023).

19. Given that Plaintiff seeks all of the above items of damages, in addition to
numerous others, it is apparent that, if Plaintiff is successful on all claims he has asserted, he will
recover well in excess of the jurisdictional minimum of $75,000 just for lost wages and benefits,
statutory damages, emotional distress, and punitive damages Accordingly, it is “more likely
than not” that the amount at issue in this lawsuit exceeds the minimum amount required for
diversity jurisdiction See Sanchez, 102 F.3d at 403-04.

SATISFACTION OF THE RE()UIREMENTS OF 28 U.S.C. 8 1446

20. ln accordance with 28 U.S.C. §l446(a), this Notice of Removal is filed in the
District Court of the United States in which the action is pending The Superior Court of
California, County of Santa Clara, is located within the Northern District of California.
Therefore, venue is proper in this Court pursuant to 28 U.S.C. § 84(a) because it is the “district
and division embracing the place where such action is pending.” 28 U.S.C. § 1441(a).

21. In accordance with 28 U.S.C. §1446(a), copies of all process, pleadings, and
orders served upon Defendants are attached as Exhibits to this Notice of Removal.

22. In accordance with 28 U.S.C. §1446(b), Defendants’ Notice of Removal was filed
within 30 days after the initial service of the Complaint on Compass was completed on August 2,
201 7.

23. ln accordance with 28 U.S.C. §1446(d), a copy of this Notice of Removal is being
served upon counsel for Plaintiff and a copy is being filed With the Clerk of the Superior Court of
California in Santa Clara County and with the Clerk of the Northern District of California. True
and correct copies of the Notice to the Plaintiff and the state court shall be filed promptly.

24. ln the event that this Court has a question regarding the propriety of this Notice of
Removal, Defendants request that it issue an Order to Show Cause so that Defendants may have

an opportunity to more fully brief the Court on the basis for this removal.

6 Case No.
DEFENDANTS’ NOTICE OF REMOVAL

 

 

.B

O'\U`I

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 3:17-cv-05052-VC Document 1 Filed 08/30/17 Page 8 of 8

INTRADISTRICT ASSIGNMENT

25. Pursuant to Local Rule 3-2(e), Removal and lntradistrict Assignment to the San

Jose division of this Court is proper because the alleged acts and occurrences arose in the County

of Santa Clara.

WHEREFORE, Defendants Compass Airlines, LLC and Trans States Holdings, lnc.,

remove the above action to this Court.

DATED: August 30, 2017

OGLETREE, DEAKINS, NASH, SMOAK &
STEWART, P.C.

By: /s/ Gregory C. Chengr
Gregory C. Cheng

Attorneys for Defendants COMPASS AIRLINES,
LLC and TRANS STATES HOLDINGS, lNC.

7 Case No.

 

DEFENDANTS’ NOTICE OF REMOVAL

 

